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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

                     Plaintiffs,
      v.                                           Case No. 24-CV-3220 (DLF)
ROBERT F. KENNEDY JR., et al.,

                    Defendants.


BRISTOL MYERS SQUIBB COMPANY,

                     Plaintiff,
      v.                                           Case No. 24-CV-3337 (DLF)
ROBERT F. KENNEDY JR., et al.,

                    Defendants.


NOVARTIS PHARMACEUTICALS
CORPORATION,

                     Plaintiff,
      v.                                           Case No. 25-CV-0117 (DLF)
ROBERT F. KENNEDY JR., et al.,

                    Defendants.


               PLAINTIFFS’ JOINT OPPOSITION TO DEFENDANTS’
                MOTION TO ENLARGE THE BRIEFING SCHEDULE




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       Eli Lilly and Company and Lilly USA, LLC (collectively Lilly), Bristol Myers Squibb

Company (BMS), and Novartis Pharmaceuticals Corp. (Novartis) respectfully oppose the

Government’s extension motion.

                                            ARGUMENT

       The briefing schedules in these now-consolidated-for-briefing cases were stipulated

schedules; the Government affirmatively agreed to each of the dates set out in them. And in

December and January when the Government agreed to those dates, it knew four things. First, the

Government knew there would be a transition in Administrations and that newly installed

leadership at the Health Resources and Services Administration (HRSA) would need to determine

its position on the claims asserted in these cases. 1 Second, the Government knew from the

complaints that Lilly, BMS, and Novartis raise some common arguments as well as other, different

arguments reflecting each manufacturer’s unique circumstances. Third, the Government knew

that it had assigned only a single attorney to these cases. And fourth, the Government knew that

Lilly, BMS, and Novartis had proposed the summary-judgment schedule to avoid preliminary-

injunction briefing that would have moved on a more-accelerated schedule than the summary-

judgment schedule that the parties ultimately agreed to. All of these things were true then, and

they remain true now. The Government’s late-breaking regret that it stipulated to this schedule is

not good cause to delay briefing. Cooper v. United States Dep’t of Just., 169 F. Supp. 3d 20, 45

(D.D.C. 2016) (courts have broad “discretion” over an extension motion).




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   There is, however, little reason to think new HRSA leadership will need significant time to get
up to speed. The new HRSA Administrator is Thomas J. Engels, who previously held the same
position under the first Trump Administration. HRSA, Thomas J. Engels, Biography (last accessed
Feb. 24, 2025), https://www.hrsa.gov/about/organization/engels-bio. The Government’s motion
is conspicuously light on the details of who will need to be “briefed,” the nature of that “brief[ing],”
and why the briefing could not have occurred between January 21 and March 3.
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       The Court has already made clear that it is not inclined to extend the agreed-upon briefing

schedule. When the Court asked the parties for their positions on consolidating the cases for

briefing and argument, the Government suggested that “the Court order the parties to submit a

Joint Status Report one week after the Court issues any order on consolidation to propose a

uniformed briefing schedule or any other procedures to govern the litigation of these consolidated

actions.” No. 24-cv-3337, ECF No. 27 at 2. Lilly, BMS, and Novartis, by contrast, proposed that

the parties in the Lilly, BMS, and Novartis cases “would follow the same briefing schedule already

negotiated between the parties and entered by this Court.” No. 24-cv-3337, ECF No. 27 ¶ 2. The

three companies explained that the Government’s contrary proposal was a poorly concealed effort

to delay briefing and that “[t]he government should not now be allowed to . . . alter the scheduling

orders that every other party is currently abiding by under the guise of an order that merely sought

the parties’ positions on consolidation.” Id. ¶ 5. And the Court agreed with the companies,

notifying the parties that the Court was “planning on maintaining the briefing schedules as is.”

       The Court should also adhere to the set briefing schedule because further delay would

prejudice Plaintiffs. That is especially true as to BMS and Novartis, who are subject to the Inflation

Reduction Act’s impending “maximum fair price” requirement. BMS and Novartis need timely

resolution of their claims because they must submit their MFP effectuation plans by September 1,

2025, and the companies need real-world experience with their models well ahead of that date.

No. 24-cv-3337, ECF No. 17-1 at 39; id., ECF No. 12 ¶ 4; No. 25-cv-117, ECF No. 12 at 17–18.

That is why BMS has sought an expedited decision by May 1, 2025. See No. 24-cv-3337, ECF

No. 12. Yet the Government never acknowledges that its proposed extension threatens inflicting

the very harm that BMS and Novartis have brought this action to address: that it is unlawful for

one component of HHS (CMS) to impose an MFP-340B nonduplication obligation on



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manufacturers while another component (HRSA) prevents manufacturers from implementing

pricing models that would allow them to satisfy their nonduplication obligations.

       HRSA has not simply refused to bless the companies’ proposed cash-rebate models: The

agency has concocted a novel statutory preapproval requirement. No. 24-cv-3220, ECF No. 15-1

at 31–35; No. 24-cv-3337, ECF No. 17-1 at 29, 32; No. 25-cv-117, ECF No. 12-1 at 26, 29. That

position has raised the temperature of this case dramatically; it is the basis for HRSA’s dramatic

threat to terminate a manufacturer’s Pharmaceutical Pricing Agreement if it implements its

proposed model—thus expelling the manufacturer from Medicaid and Medicare Part B—as well

as to levy civil monetary penalties. AR 202–03, 424–25. With that ultimatum on the table, a

manufacturer would incur grave, immediate risks by implementing its model before receiving a

decision from the Court. That dynamic makes this case fundamentally different from the contract-

pharmacy litigation before this Court in 2021. See, e.g., Novartis Pharms. Corp. v. Espinosa,

No. 21-CV-1479 (DLF) (D.D.C. Sept. 23, 2021), ECF No. 26 at 1 (noting that HRSA had referred

Novartis to the HHS Office of Inspector General regarding its already-implemented contract-

pharmacy policy). Much of the urgency, in other words, is of HRSA’s making.

       BMS and Novartis are already facing a time crunch. It could take months from this Court’s

decision to implement the proposed cash-rebate models. Assuming the Court were able to meet

BMS’s requested May 1 decision request under the current briefing schedule, the Government’s

demand for another 30 days would push a decision to June 1. Depending on the Court’s decision,

that may leave precious little time for BMS and Novartis to devise an alternative strategy for

resolving the nonduplication bind that HHS has created by imposed a 14-day deadline for

providing access to MFPs yet refusing to require covered entities to provide data that would help

identify potential MFP-340B duplication before it occurs. No. 25-cv-117, ECF No. 12-1 at 46–



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47. Having created the problem, the least the Government could do is give BMS and Novartis

time to implement a solution.

       Finally, each additional day without a decision will inflict continued monetary harm on

Lilly, BMS, and Novartis. As the companies explained in their summary-judgment motions,

manufacturers that participate in the 340B Program are currently subject to tremendous amounts

of duplicate and improper discounts. No. 24-cv-3220, ECF No. 15-1 at 14–17; No. 24-cv-3337,

ECF No. 17-1 at 12–15; No. 25-cv-117, ECF No. 12-1 at 11–14. The cash-replenishment and

cash-rebate models proposed by Lilly, BMS, and Novartis will combat these unlawful practices.

No. 24-cv-3220, ECF No. 15-1 at 38–40; No. 24-cv-3337, ECF No. 17-1 at 35–37; No. 25-cv-

117, ECF No. 12-1 at 17–18. But again, HRSA has threatened existential sanctions for any

manufacturer that tries to address the problem. AR 202–03, 424–25. So the only way for Lilly,

BMS, and Novartis to navigate past the Scylla of massive improper price concessions and the

Charybdis of draconian governmental penalties is to promptly receive a decision from this Court

setting aside HRSA’s refusal to approve the companies’ models. The Court should not delay

resolution of these cases.

                                       CONCLUSION

       For the foregoing reasons, the motion should be denied.




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Dated: February 24, 2025              Respectfully submitted,


                                      /s/ Catherine E. Stetson
                                      John C. O’Quinn
                                      Matthew S. Owen
                                      Megan McGlynn
                                      KIRKLAND & ELLIS LLP
                                      1301 Pennsylvania Avenue N.W.
                                      Washington, D.C. 20004
                                      (202) 389-5000
                                      john.oquinn@kirkland.com
                                      matt.owen@kirkland.com
                                      megan.mcglynn@kirkland.com

                                      Catherine E. Stetson (D.C. Bar No. 453221)
                                      Jacob T. Young (D.C. Bar No. 90014334)
                                      HOGAN LOVELLS US LLP
                                      555 Thirteenth Street N.W.
                                      Washington, D.C. 20004
                                      (202) 637-5600
                                      cate.stetson@hoganlovells.com
                                      jake.young@hoganlovells.com


                                      Attorneys for Plaintiffs Eli Lilly and Company
                                      and Lilly USA, LLC

                                      /s/ Sean Marotta
                                      Sean Marotta (D.C. Bar No. 1006494)
                                      Marlan Golden (D.C. Bar No. 1673073)
                                      HOGAN LOVELLS US LLP
                                      555 Thirteenth Street, N.W.
                                      Washington, D.C. 20004
                                      Telephone: (202) 637-4881
                                      Facsimile: (202) 637-5910
                                      sean.marotta@hoganlovells.com

                                      Attorneys for Plaintiff Bristol Myers Squibb
                                      Company

                                      /s/ Sean Marotta
                                      Sean Marotta (D.C. Bar No. 1006494)
                                      Jacob T. Young (D.C. Bar No. 90014334)
                                      HOGAN LOVELLS US LLP
                                      555 Thirteenth Street, N.W.
                                      Washington, D.C. 20004

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                               (202) 637-4881
                               sean.marotta@hoganlovells.com

                               Attorneys for Plaintiff Novartis
                               Pharmaceuticals Corporation




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